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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      “IN ADMIRALTY”

                                                        CASE NO: 19 –22775–CV-(RNS )

FEDNAV INTERNATIONAL LTD.,

       Plaintiff,
vs.

ALLPINE WORLDWIDE LTD.,

      Defendant.
___________________________________
                        MOTION REQUESTING COURT TO CONSIDER
                        EX PARTE APPLICATION FOR ISSUANCE OF
                          RULE B ORDER OF ATTACHMENT AS AN
                         EXPEDITED MOTION IN LIGHT OF RECENT
                                   DEVELOPMENTS


          Plaintiff Fednav International Ltd. (“Fednav”), having filed a Verified Complaint in

Admiralty on July 5, 2019 with a prayer for issuance of Process of Maritime Attachment and

Garnishment pursuant to Rule B of the Supplemental Rules for Certain Admiralty and Maritime

Claims of the Federal Rules of Civil Procedure (“Supplemental Admiralty Rules”), respectfully

requests this Honorable Court to treat the presently pending application on an expedited basis.

                                      STATEMENT OF FACTS

          On July 8, 2019, a widely-read maritime industry publication essentially blew the whistle

on this pending application for ex parte relief by publishing as its top news item Plaintiff Fednav’s

filing of this application before this Court. (See print of electronic copy of article attached hereto as

Exhibit A). Not only did the publication disclose to the public in general, and the maritime industry

in particular, the existence of this ex parte application – the publication also directly contacted

Defendant Allpine, via their commercial managers Naviera Ulises, to request Defendant’s comment

on this pending application. (“The complaint says funds from [the] sale of the ship either are or will


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be in the Banco Sabadell accounts, along with proceeds from delivering a sugar cargo at a Russian

port. Naviera Ulises did not immediately return requests for comment.”) (emphasis added). That

news article, combined with publication’s direct contact with Defendant’s commercial managers, has

essentially “tipped-off” Defendants’ regarding this application, thereby jeopardizing Plaintiff

Fednav’s efforts to obtain security for its sizable claim against Defendant via the attachment of

Defendant’s assets in this jurisdiction, in particular funds that upon information and belief are

deposited at Banco Sabadell in Miami, the garnishee in this application.

          Requests for motions to be treated on an expedited basis in this jurisdiction are governed

  by this Court’s local rules, in particular S.D. Fla. L.R. 7.1(d)(2). That rule states:

                A filer whose time-sensitive motion does not qualify as an emergency
                motion but who nonetheless requires an expedited ruling by a date certain
                may file an expedited motion in lieu of an emergency motion. The motion
                must include the words “Expedited Motion” in the title and must set forth
                in detail the date by which an expedited ruling is needed and the reason the
                ruling is needed by the stated date.

        Plaintiff Fednav respectfully requests this Honorable Court for an expedited ruling on its

pending application for Process of Maritime Attachment and Garnishment by Noon on July 9, 2019.

Given the speed of modern international banking and electronic communications, the publication of

the article on July 8, 2019 has dramatically shortened the timeline via which the application filed on

July 5, 2019 can result in a positive outcome for Plaintiffs – i.e., obtaining security for their substantial

claim to be arbitrated in London. Plaintiff Fednav would not be making this application had today’s

article not been published and the publication at issue had not contacted Defendant directly. For all

the above reasons, Plaintiff respectfully requests that the Court issue an order authorizing Process of

Maritime Attachment and Garnishment in order to secure Plaintiff’s claim up to and including the

amount of $1,173,000.00.




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             Dated this 9th day of July, 2019.

                                                 Respectfully submitted,

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